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 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10   JANE DOE, an individual,                 )       Case No. 2:CV 19-01005-AB-KSx
                                              )
11                            Plaintiff,      )
                                              )       ORDER RE STIPULATION TO
            vs.                               )       MOVE THE JANUARY 17, 2020
12                                                    HEARING DATE
                                              )
13   CALIFORNIA INSTITUTE OF                  )
     TECHNOLOGY, a California Corporation;    )
14                                            )
     JOHN DOE, an individual; KEVIN           )       Complaint Served:     February 5, 2019
15
     GILMARTIN, an individual; and DOES 1     )       Current Hearing Date: January 17, 2020
     through 100, inclusive,                  )       Continued Hearing    -DQXDU\  
16                                            )
                             Defendants.      )
17                                            )
     ______________________________________ )
18   JOHN DOE, an individual,                 )
                          Counter Claimant,   )
19                                            )
                                              )
            vs.                               )
20
                                              )
21   JANE DOE, an individual,                 )
                          Counter Defendant,  )
22                                            )
     _______________________________________)
23   JOHN DOE, an individual,                 )
                           Cross-Claimant,    )       District Judge: Hon. Andrew Briotte
24                                            )
             vs.                              )
25                                            )
                                              )
26   CALIFORNIA INSTITUTE OF                  )
     TECHNOLOGY, a California Corporation,    )
27                           Cross-Defendant. )
                                              )
28   _______________________________________

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                                           ORDER
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